
51 N.Y.2d 862 (1980)
In the Matter of Lou Wein, Also Known as Louis P. Wein, Appellant,
v.
Louise Thomas et al., and Francis X. Gargiulo et al., Constituting the Board of Elections of the City of New York, Respondents.
Court of Appeals of the State of New York.
Submitted October 17, 1980.
Decided October 17, 1980.
John A. Gussow for appellant.
Paschal A. Corbo for respondents.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, without costs. We cannot say that the determination of the Appellate Division was erroneous as a matter of law.
